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DECLARATION OF ROGER I. ROOTS, R.I. BAR #6752



I, Roger I. Roots, affirm under penalty of perjury that:

    1.      I am an Attorney, and Partner employed by the law firm John Pierce Law P.C.. I have
            personal knowledge of the facts set forth herein.
    2.      I am innocent of the allegations in the complaint. I never authored, executed, submitted, or
            filed nor caused to be authored, executed, submitted, or filed any “fraudulent Certificate of
            Good Standing” in the District of Columbia. Nor did I know such a certificate was being filed
            in my name. I was, in fact, in good standing at all times relevant and had no reason
            whatsoever to create any fake document saying so.
    3.      I did seek admission to the DC Federal bar in 2022, and agreed that staff at John Pierce Law
            should fill out and submit the proper paperwork for doing so. They regularly fill out and
            submit such paperwork for myself and others in the firm; and they regularly correspond
            with court clerks around the country in doing so.
    4.      I had no knowledge that any inauthentic documents were being sent anywhere.
    5.      I have been in my current position since approximately February 01, 2022. Staff at John
            Pierce Law, P.C., generally have access to all passwords, addresses and/or usernames
            required to complete important paperwork at any time. A single phone call or email could
            have caused the authentic documents to be ordered or sent, as required.
    6.      I take full responsibility for hiring or improperly supervising any staff responsible. The
            paralegal who (I believe) generated or photoshopped the date on the document in question
            is no longer employed by John Pierce Law.
    7.      Please contact me at (775) 764-9347 with any further questions relating to this matter.
            Thanks so much.


FURTHER THE DECLARANT SAYETH NOT,

/s/ Roger I. Roots, esq.         Dated February 25, 2023.

Roger I. Roots
